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                            UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF ALABAMA


                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA


                            UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ALABAMA


                                                         }
    IN RE: AMIE ADELIA VAGUE, et al.                     }    Case No: 2:22-MC-3977-LCB
                                                         }

                           RESPONDENTS’ POST-HEARING BRIEF

         Respondents Melody H. Eagan and Jeffrey P. Doss (“Respondents”) look forward to the

opportunity to appear before the Court to discuss the facts and their intentions surrounding their

dismissal of Ladinsky, et al. v. Ivey, et al. (“Ladinsky”) and their filing of Eknes-Tucker, et al. v.

Ivey, et al. (“Eknes-Tucker”). This brief addresses the law relevant to the decisions they made and

how the law impacts the Court’s inquiry going forward.1

A.       Respondents made litigation decisions that they believed complied with the law.

         This inquiry concerns (1) Respondents’ decision to voluntarily dismiss Ladinsky, a one-

week-old lawsuit in the Northern District of Alabama, before an answer or responsive pleading

was filed by the defendants, and (2) Respondents’ decision to file Eknes-Tucker, a new lawsuit

with new plaintiffs, in the Middle District of Alabama.

         Respondents made their first decision late on a hectic Good Friday afternoon. Based on

the information that they had at the time, including an unexpected docket text order that appeared



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      Respondents are filing a copy of this brief in both Boe, et al. v. Marshall, et al., Case No. 2:22-CV-
184-LCB (M.D. Ala.) and In re: Vague, et al., Case No. 2:22-MC-3977-LCB (M.D. Ala.).


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to transfer Ladinsky outside of the random case assignment system, Respondents voluntarily

dismissed Ladinsky through Federal Rule of Civil Procedure 41(a)(1)(A)(i). They believed that

Rule 41(a)(1)(A)(i) conferred an unfettered right to dismiss. And then, four days later, they filed

a new action, Eknes-Tucker, with similar (but not identical) claims on behalf of a new set of

plaintiffs. Respondents made these decisions with the good faith belief that they were not violating

any court order, statute, case, or rule.

        Respondents chose to file Ladinsky in the Northern District, understanding full well that

the case could be assigned to any Northern District judge. Ladinsky was first randomly assigned

to Judge Anna Manasco. When Judge Manasco recused, the case was randomly reassigned to

Magistrate Judge Staci Cornelius. The case was then randomly reassigned to Judge Annemarie

Axon. Respondents did not try to manipulate or influence these random assignments. Judge

Axon’s April 15, 2022, text order reassigning the case to Your Honor, however, appeared—at least

to Respondents—to not be a random assignment. It appeared to be contrary to Respondents’

understanding of and experience with the Northern District’s practice: either (1) cases are

randomly assigned if an assigned judge cannot handle the case (e.g., as was the case when Judge

Manasco recused or when Magistrate Judge Cornelius had the case reassigned), or (2) in the case

of similar cases to be consolidated, the judge assigned to the first-filed case would consolidate and

handle all of them (as was anticipated by counsel for all Ladinsky parties, with the intent to file a

joint consolidation motion before Judge Axon on April 15, 2022).

        Against this backdrop, Respondents participated in the decision after business hours on

Good Friday to dismiss Ladinsky in accordance with how they interpreted Rule 41(a)(1)(A)(i).

They then chose to file Eknes-Tucker in the Middle District where venue was proper, understanding

that the case would be randomly assigned to any Middle District judge. They did so without




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knowing about Your Honor’s order, entered on April 18, 2022, in Walker, et al. v. Marshall, et al.

in the Northern District. If they had believed that these decisions violated a court order, statute,

case, or rule, they never would have made them, nor would they have publicized their intentions

to the media. Respondents deeply regret that the Court has thought otherwise.

B.      Respondents believed that they had the unconditional right to dismiss under Federal
        Rule of Civil Procedure 41(a)(1)(A)(i).

        Underlying this Court’s proceedings concerning the Report of Inquiry is a threshold

question: Does a lawyer violate the law when voluntarily dismissing a case under Rule

41(a)(1)(A)(i) if the lawyer considers, at least in part, the identity of the judge to whom the case is

assigned? Respondents believed that the answer is no. Both Federal Rule of Civil Procedure

41(a)(1)(A)(i) and the case law interpreting the rule make clear that (1) the right to dismiss, prior

to a defendant’s answer or motion for summary judgment, is absolute and unfettered, and (2) the

subjective reasons underlying a decision to dismiss are not a basis for finding misconduct or

imposing a sanction. When Respondents decided to dismiss Ladinsky, they were aware of no

controlling order, statute, case, or rule that precluded them from considering the judicial

assignment when deciding whether to voluntarily dismiss a case.

        “The plaintiff may dismiss an action without a court order by filing . . . a notice of dismissal

before the opposing party serves either an answer or a motion for summary judgment.” Fed. R.

Civ. P. 41(a)(1)(A)(i). This straightforward and unrestricted procedure has been available to

litigants for over fifty years:

        Rule 41(a)(1) is the shortest and surest route to abort a complaint when it is
        applicable. So long as plaintiff has not been served with his adversary's answer or
        motion for summary judgment he need do no more than file a notice of dismissal
        with the Clerk. That document itself closes the file. There is nothing the defendant
        can do to fan the ashes of that action into life and the court has no role to play. This
        is a matter of right running to the plaintiff and may not be extinguished or
        circumscribed by adversary or court. There is not even a perfunctory order of court



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       closing the file. Its alpha and omega was the doing of the plaintiff alone. He suffers
       no impairment beyond his fee for filing.

Am. Cyanamid Co. v. McGhee, 317 F.2d 295, 297 (5th Cir. 1963).

       To curb potential abuse, Rule 41 has limits. Those limits are found in the Rule itself:

       (1)     Timing: Once the defendant serves either an answer or a summary judgment
               motion, the plaintiff’s right to voluntarily dismiss is extinguished. Fed. R.
               Civ. P. 41(a)(1)(A)(i).

       (2)     Repeat Use: Rule 41(a)(1)(A)(i) can be invoked only once, as the second
               invocation is with prejudice. Fed. R. Civ. P. 41(a)(1)(B).

       (3)     Cost Shifting: In its discretion, the court “may order the plaintiff to pay all
               or part of the costs of the previous action” if “a plaintiff . . . previously
               dismissed an action” and then “files an action based on or including the
               same claim against the same defendant.” Fed. R. Civ. P. 41(d)(1).

       The principal safeguard is the prohibition against repeat use: “[T]he primary purpose of the

‘two dismissal’ rule is to prevent an unreasonable use of the plaintiff’s unilateral right to dismiss

an action prior to the filing of the defendant’s responsive pleading.” ASX Inv. Corp. v. Newton,

183 F.3d 1265, 1268 (11th Cir. 1999). “But this quick and ready tool may be used once, and only

once, if clear consequences are to be avoided. A second notice of dismissal not only closes the file,

it also closes the case with prejudice to the bringing of another. The reason for this arbitrary

limitation, pointed out in numerous decisions, is to prevent unreasonable abuse and harassment.”

Am. Cyanamid Co., 317 F.2d at 297.

       Apart from those safeguards, Rule 41(a)(1)(A)(i) imposes no other restriction on its use.

To the contrary, “[i]t is well established that Rule 41(a)(1)(i) grants a plaintiff an unconditional

right to dismiss his complaint by notice and without an order of the court at any time prior to the

defendant’s service of an answer or a motion for summary judgment.” Matthews v. Gaither, 902

F.2d 877, 880 (11th Cir. 1990). For that reason, no court action is needed: “[t]he dismissal is

effective immediately upon the filing of a written notice of dismissal.” Id. (citing Moore’s Federal



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Practice 41.02(2) (1988)). The rule, therefore, preserves a plaintiff’s “unconditional right to

dismiss” while limiting only when—not why—that right may be exercised. See, e.g., Cooter &

Gell v. Hartmax Corp., 496 U.S. 384, 397 (1990) (Rule 41(a)(1) “was designed to limit a plaintiff’s

ability to dismiss an action” during “the brief period before the defendant had made a significant

commitment of time and money.”); Absolute Dismissal under Federal Rule 41(a): The

Disappearing Right of Voluntary Nonsuit, 63 Yale L.J. 738, 738 (1954) (noting that, at common

law, “a plaintiff had an absolute right to dismiss his suit without prejudice at any time before verdict

or judgment,” but that Rule 41(a) “limits absolute dismissal to an earlier point”).

        Because the right is unconditional, “[t]he plaintiff’s reason for the dismissal is immaterial.”

1 Federal Rules of Civil Procedure, Rules & Commentary – Rule 41 (Feb. 2023). “One doesn’t

need a good reason, or even a sane or any reason, to dismiss a suit voluntarily. The right is absolute,

as Rule 41(a)(1) and the cases interpreting it make clear, until, as the rule states, the defendant

serves an answer or a motion for summary judgment.” Marques v. Fed. Reserve Bank of Chi., 286

F.3d 1014, 1017 (7th Cir. 2002) (citations omitted). Other courts have expressed similar views.

See, e.g., Adams v. USAA Cas. Ins. Co., 863 F.3d 1069, 1080 (8th Cir. 2017) (“The reason for the

dismissal is irrelevant under Rule 41(a)(1)”); Wolters Kluwer Fin. Servs., Inc. v. Scivantage, 564

F.3d 110, 115 (2d Cir. 2009) (“[If] the plaintiff has brought himself within the requirements of Rule

41, his reasons for wanting to do so are not for us to judge.”) (quoting Thorp v. Scarne, 599 F.2d

1169, 1177 n.10 (2d Cir. 1979)).

        The Fifth Circuit recognized this principle in Pilot Freight Carriers, Inc. v. International

Brotherhood of Teamsters, 506 F.2d 914 (5th Cir. 1975), which remains precedential in the

Eleventh Circuit. The Pilot Freight defendants argued that a plaintiff should not be permitted to

voluntarily dismiss a complaint after unsuccessfully seeking injunctive relief. 506 F.2d at 915-16.




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The Fifth Circuit rejected the defendants’ invitation to rewrite Rule 41(a)(1): “Rule 41(a)(1) means

precisely what it says.” Id. at 916. Importantly, the Fifth Circuit reached that conclusion despite

the defendants’ warning that “the construction [the court] place[s] on the Rule permits forum

shopping in the sense that a litigant may be able to choose a ‘friendly judge.’” Id. at 917.

       The Eleventh Circuit has not overruled the Fifth Circuit’s precedent, which consistently

recognizes that, “[a]s the plain terms of Rule 41(a)(1)(i) establish, a plaintiff has an absolute right

to dismiss a lawsuit before the defendant has filed an answer or summary judgment motion.”

Carter v. United States, 547 F.2d 258, 259 (5th Cir. 1977); see also id. (collecting cases where the

Fifth Circuit held that “Rule 41(a)(1) means what it says”).

       Because the right is unconditional and absolute, Circuit Courts have rejected efforts to

scrutinize—or punish through sanctions—the reasons for a voluntary dismissal. The Circuit Courts

have reached these decisions even when attorneys were attempting to evade a particular judge after

adverse rulings. For example, in Wolters Kluwer, 564 F.3d at 110, the attorneys filed a lawsuit in

the Southern District of New York, voluntarily dismissed the case, and re-filed the same lawsuit in

the District of Massachusetts. The Southern District of New York found that the attorneys’ “main

purpose in filing a Rule 41 voluntary dismissal . . . was to judge-shop in order to conceal from

[their] client ‘deficiencies in counsel’s advocacy.’” Id. at 114. To the district court, “this sort of

judge-shopping was an improper purpose and was accordingly sanctionable.” Id. The Second

Circuit, however, reversed: “[The lawyers were] entitled to file a valid Rule 41 notice of voluntary

dismissal for any reason, and the fact that [they] did so to flee the jurisdiction or the judge does

not make the filing sanctionable.” Id. at 115. Because the attorneys were “entitled by law to

dismiss the case,” there was no basis to sanction them. Id.




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        The Eighth Circuit reached a similar result in Adams v. USAA Casualty Insurance Co., 863

F.3d 1069 (8th Cir. 2017). The district court found that the attorneys had voluntarily dismissed

one case and then “[r]efil[ed] in a more favorable forum [to] avoid[] an adverse decision” of the

district court. 863 F.3d at 1074. The district court sanctioned the attorneys. Id. at 1075. The

Eighth Circuit reversed: “The reason for the dismissal is irrelevant under Rule 41(a)(1). Therefore,

we hold that the district court erred in concluding that counsel engaged in sanctionable conduct by

stipulating to a dismissal under Rule 41(a)(1) for the purpose of forum shopping and avoiding an

adverse result.” Id. at 1080-81; see also id. at 1083 (finding that the district court abused its

discretion in determining that counsel had “abused the judicial process by stipulating to the

dismissal of the federal action for the purpose of seeking a more favorable forum and avoiding an

adverse decision”).

        No Circuit Court has held that a dismissal under Rule 41(a)(1) could be a basis on which

to find subjective bad faith, let alone sanctionable misconduct.2 To the contrary, courts have

acknowledged that “plaintiffs are permitted to engage in a certain amount of forum-shopping.” In

re TikTok, Inc., --- F.4th ---- (5th Cir. 2023). According to the Fifth Circuit in McCuin v. Texas

Power & Light Co., a decision cited by the Panel in the Report of Inquiry, so-called forum-

shopping or judge-shopping is inherent in the judicial system:


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         Two cases should be addressed. In Hernandez v. City of El Monte, 138 F.3d 393 (9th Cir. 1998),
the district court dismissed a lawsuit after finding that the litigants were engaged in “judge shopping.” The
Ninth Circuit reversed. 138 F.3d at 398-400. Although a local rule expressly forbade dismissing one case
for the purpose of re-filing to obtain a different judge, there had been no prejudice to the defendants, nor
did public policy favor dismissal of the second case. Id. at 399-400. Considering the balance of factors,
the Ninth Circuit held that the district court abused its discretion in dismissing the case. Id. at 400. In In
re Fieger, 191 F.3d 451 (6th Cir. 1999), meanwhile, the Sixth Circuit affirmed a disciplinary decision
against an attorney who (i) filed thirteen complaints in the same district court; (ii) failed to mark any of
those cases as “related” to any of the others, in violation of a local rule; (iii) dismissed all but one of his
lawsuits; and (iv) informed the media that he took those steps “so that he could select the judge.” On appeal,
the attorney challenged procedural aspects of his disciplinary process. Accordingly, the Sixth Circuit—in
this unpublished decision—did not analyze whether to impose a limitation on a litigant’s absolute right to
dismiss under Rule 41.


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       Forum-shopping is sanctioned by our judicial system. It is as American as the
       Constitution, peremptory challenges to jurors, and our dual system of state and
       federal courts. The extension in Article III of federal judicial power to
       “controversies between citizens of different states,” implemented by statute
       continuously since 1789, permits a plaintiff who might sue in a state court to select
       a federal forum for the claim. The statutory provision for removal to federal courts
       of such diversity cases filed in state court permits the defendant to opt for a federal
       forum. Virtually all causes of action created by federal law may be asserted in either
       a state or a federal court. Many claims that may be asserted in the courts of one
       state may also be asserted in the courts of another. Not only may a litigant frequently
       select among several jurisdictions, he may, within a jurisdiction, lay venue in more
       than one court.

       The existence of these choices not only permits but indeed invites counsel in an
       adversary system, seeking to serve his client's interests, to select the forum that he
       considers most receptive to his cause. The motive of the suitor in making this choice
       is ordinarily of no moment: a court may be selected because its docket moves
       rapidly, its discovery procedures are liberal, its jurors are generous, the rules of law
       applied are more favorable, or the judge who presides in that forum is thought more
       likely to rule in the litigant's favor.

       Even in a particular forum, other tactical measures are available to determine who
       will be the trier of fact. For most causes of action, the plaintiff in a federal court
       may seek either a jury trial or a bench trial. In these cases, if the plaintiff waives
       trial by jury, the defendant may veto the bench trial by demanding a jury trial.
       Finally, the very existence of the peremptory challenge in jury cases bespeaks
       regard for some latitude in selection of the trier-of-fact on the basis of getting rid
       of those whom the lawyer considers unfavorably predisposed.

       In a perfect judicial system forum-shopping would be paradoxical. The same results
       would obtain in every forum and after every type of trial. But the actual litigation
       process is not a laboratory in which the same result is obtained after every test. In
       some situations, such as when a statute of limitations is involved, the choice of
       forum may determine the rule of law that will be applied. Even when legal rules are
       identical, justice can be obtained only through human beings, and neither judges
       nor jurors are fungible. In recognition both of this and of the nature of the adversary,
       client-serving process, we tolerate a certain amount of manipulation without
       inquiry into motive.

714 F.2d 1255, 1261-62 (5th Cir. 1983).

       Closely related, a court may not impose a re-filing requirement on a Rule 41(a)(1)(A)(i)

dismissal. See, e.g., 9 Federal Practice & Procedure – Civil § 2366 (4th ed.) (“The district court

has no power to impose terms and conditions if a plaintiff properly dismisses by notice under



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Federal Rule of Civil Procedure 41(a)(1).”). For example, in Bechuck v. Home Depot U.S.A., Inc.,

the plaintiff voluntarily dismissed under Rule 41(a)(1)(A)(i). 814 F.3d 287, 290 (5th Cir. 2016).

The plaintiff did so after the district court had entered adverse rulings against him. Id. After the

plaintiff filed his dismissal notice, the district court entered an order requiring the plaintiff, “[i]f

[he] sues [the defendants] again for the same cause of action, [to] do so before this court.” Id. at

290-91. Consistent with its prior decisions, the Fifth Circuit reversed:

        Although forum-shopping is not a trivial concern, Rule 41(a)(1) essentially permits
        forum-shopping. It is not uncommon for plaintiffs to use voluntary dismissal to
        secure their preferred forum, such as when they seek to undo removal and return to
        state court. While this may seem distasteful to opposing parties, we have
        consistently held that Rule 41(a)(1) means what it says and defendants who desire
        to prevent plaintiffs from invoking their unfettered right to dismiss actions under
        Rule 41(a)(1) may do so by taking the simple step of filing an answer.

        The effect of a Rule 41(a)(1) dismissal is to put the plaintiff in a legal position as if
        he had never brought the first suit. Therefore, the plaintiff is free to return to the
        dismissing court or other courts at a later date with the same claim. By placing him
        back into the situation as though he had never brought suit, Rule 41(a)(1)(A)(i)
        necessarily allows him to choose his forum anew.

Id. at 293 (cleaned up).

        “Court-ordered sanctions”—such as restricting future actions after a voluntary dismissal

—“should be neither ‘a consequence’ of a voluntary dismissal without prejudice nor a ‘condition’

placed upon such a dismissal.” Id. at 292-93 (quoting Cooter & Gell, 496 U.S. at 396-97). If Rule

41(a)(1)(A)(i) “means what it says,” then a litigant, following a voluntary dismissal, may file anew

in any forum where venue is proper. Upon dismissal, the plaintiff is “put . . . in a legal position as

if he had never brought the first suit.” Harvey Specialty & Supply, Inc. v. Anson Flowline Equip.,

Inc., 434 F.3d 320, 324 (5th Cir. 2005) (quoting LeCompte v. Mr. Chip, Inc., 528 F.2d 601, 603

(5th Cir. 1976)). Following dismissal, therefore, “[t]he plaintiff is free to return to the dismissing

court or other courts at a later date with the same claim.” Id. (citing Semtek Int’l Inc. v. Lockheed




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Martin Corp., 531 U.S. 497, 505-06 (2001)). Even in the context of Rule 41(a)(2) dismissals,

which require court approval, district courts abuse their discretion by placing future filing

restrictions on litigants. See, e.g., Frank v. Crawley Petrol. Corp., 992 F.3d 987, 1003 (10th Cir.

2021) (absent prejudice to defendant, district court abuses its discretion by requiring, as part of

Rule 41(a)(2) dismissal, that plaintiff’s counsel re-file any future lawsuit, alleging similar matters,

in the same court and before the same judge).

        After a case has been voluntarily dismissed and then re-filed, courts generally are free to

reassign the second-filed case to the judge assigned to the first-filed case. See, e.g., Garcia v. Int’l

Constr. Equip., Inc., 765 Fed. App’x 109, 110 (5th Cir. 2019) (“Any district court . . . is free . . . to

require that a re-filed action be assigned to the original judge, or to require that if a re-filed case is

assigned to a different judge, that judge shall transfer the case to the original judge.”) (quoting Int’l

Driver Training, Inc. v. J-BJRD Inc., 202 Fed. App’x 714, 716 (5th Cir. 2006)). But courts are not

required to do so. Compare Alvarado v. Bank of Am., N.A., No. 08-2862, 2009 WL 720875, at *4

(E.D. Cal. Mar. 17, 2009) (after concluding that a plaintiff had engaged in “judge shopping,”

reassigning case to first-file case’s judge), with Union Gas System, Inc. v. East Cent. Gas &

Pipeline Corp., No. 88-2565, 1989 WL 45373, at *1 (D. Kan. Apr. 12, 1989) (denying motion to

reassign case to first-filed case’s judge, despite allegation plaintiff had engaged in “judge

shopping”). To the extent a remedy is needed for a plaintiff who voluntarily dismisses under Rule

41(a)(1) and then re-files, the remedy is reassignment.

                                        *       *        *      *

        The Eleventh Circuit has not held that a voluntary dismissal, pursuant to Rule

41(a)(1)(A)(i), may be the basis for a sanction or a finding of misconduct. Nor has the Eleventh

Circuit suggested that an attorney’s motivations should be scrutinized. If Rule 41(a)(1)(A)(i) can




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be used only for particular reasons and not for others, then—contrary to binding Fifth Circuit

precedent—the Rule does not “mean[] what it says.”

       As one court observed in denying a defendant’s motion to strike a Rule 41(a)(1)(A)(i)

dismissal due to concerns about potential, future “forum-shopping,” “[d]ismissal under Rule

41(a)(1) is a matter of right running to the plaintiff and may not be extinguished or circumscribed

by adversary or court.” Kyzar v. Am. Nat’l Prop. & Cas. Co., No. 15-527, 2016 WL 3277449, at

*1 (M.D. La. May 19, 2016) (quoting Bailey v. Shell W.E. & P. Inc., 609 F.3d 710, 719 (5th Cir.

2010)). As the Eleventh Circuit—and its predecessor Fifth Circuit—consistently recognized, Rule

41(a)(1) “means what it says,” and “[d]efendants who desire to prevent plaintiffs from invoking

their unfettered right to dismiss . . . may do so by taking the simple step of filing an answer.”

Carter, 547 F.2d at 259. Until then, however, the right remains unfettered. Id.

C.     In re: BellSouth Corp. is not a Rule 41 case.

       The Panel suggested that the Eleventh Circuit’s decision in In re: BellSouth Corp., 334 F.3d

941 (11th Cir. 2003), should apply.       Respondents respectfully submit that Bellsouth is not

applicable here. 3 BellSouth addressed a “[longstanding] matter of concern that parties in the

Northern District of Alabama might be taking strategic advantage of the recusal statute to, in effect,

‘judge-shop’” away from Chief Judge U.W. Clemon by retaining his nephew’s law firm despite a

Standing Order governing the appearance of counsel that raised a conflict with the assigned judge.

Id. at 944-46. The district court, following an evidentiary hearing, noted how the “long history of

forced recusal of Judge Clemon in this District” reflected deliberate, systemic “manipulation of

the random assignment of judges system.” Id. at 948. The Eleventh Circuit evaluated the conduct

of BellSouth and its counsel against this backdrop and concluded that BellSouth’s right to counsel


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       Respondents are generally familiar with BellSouth, but they do not intend to suggest that they
analyzed it before dismissing Ladinsky and filing Eknes-Tucker.


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of its choice was overridden when that choice had the “sole or primary purpose of causing the

recusal of the judge.” Id. at 956. After a lengthy discussion about the “obvious concern with

respect to the effects of such manipulation and judge-shopping on the proper administration of

justice,” the Eleventh Circuit held that the district court’s decision to disqualify the nephew’s firm

was not clearly erroneous. Id. at 960.4

        There are some notable distinctions between BellSouth and what this Court is now

considering:

        (1)     BellSouth did not involve a plaintiff’s “unconditional right to dismiss his complaint
                by notice and without an order of the court at any time prior to the defendant’s
                service of an answer or a motion for summary judgment” under Rule 41(a)(1)(A)(i).
                Matthews, 902 F.2d at 880; see also Carter, 547 F.2d at 259 (describing Rule
                41(a)(1) as an “unfettered right to dismiss actions”); Fed. R. Civ. P. 41 advisory
                committee note (a litigant has an “unlimited dismissal” right absent a defendant’s
                answer or motion for summary judgment).

        (2)     The BellSouth action, as far as the litigants knew, was randomly assigned to Judge
                Clemon when Judge Clemon’s nephew was engaged as counsel. Ladinsky was
                transferred to Your Honor outside the random case assignment process.

        (3)     BellSouth involved the premeditated selection of counsel “with the sole or primary
                purpose of causing the recusal of the judge.” BellSouth, 334 F.3d at 956.5 The
                dismissal of Ladinsky, in contrast, involved lawyers—in the pandemonium of a
                chaotic afternoon and an information vacuum about why the case was transferred
                outside the random case assignment process—exercising their professional
                judgment and unconditional right under Rule 41.

        In sum, Respondents do not believe that anything in BellSouth overrules or even diminishes

the Eleventh Circuit’s clear precedent that Rule 41 confers an absolute and unfettered right to


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        The District Court did not sanction BellSouth’s attorney, so the Eleventh Circuit did not consider
the matter in the context of an attorney sanction.
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        In McCuin v. Texas Power & Light Co., 714 F.2d 1255 (5th Cir. 1983), which was cited by the
Panel, the originally assigned judge’s brother-in-law was hired as counsel by the defendant six years after
the case had been filed. The original judge recused, and the new judge found that the “defendant had
engaged the judge’s relative as a stratagem in order to disqualify the judge and that the employment was a
sham.” Id. at 1257. He concluded, “The practice is fast becoming epidemic.” Id. at 1258.



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dismiss. Unlike the litigant in BellSouth, Respondents (1) did not attempt to manipulate the

random case assignment process, and (2) did not have a known “history” of attempting to do so.

D.     A Court may sanction an attorney pursuant to its inherent authority only after a
       finding of subjective bad faith.

       Respondents submit the following discussion, if the Court chooses to consider moving

forward with a disciplinary inquiry. The Court’s “inherent power should be exercised with caution

and its invocation requires a finding of bad faith.” Kornhauser v. Comm’r of Soc. Sec., 685 F.3d

1254, 1257 (11th Cir. 2012) (citing Chambers v. NASCO, Inc., 501 U.S. 32, 50 (1991); In re Mroz,

65 F.3d 1567, 1575 (11th Cir. 1995)); see also Barnes v. Dalton, 158 F.3d 1212, 1214 (11th Cir.

1998) (“The key to unlocking a court’s inherent power is a finding of bad faith.”). In “exercising

its inherent power to impose sanctions, a court must ‘comply with the mandates of due process,

both in determining that the requisite bad faith exists and in assessing fees.’” Id. (quoting

Chambers, 501 U.S. at 50). For there to be due process, “the attorney must, first, be afforded ‘fair

notice that [his or her] conduct may warrant sanctions and the reasons why,’ and, second, ‘be given

an opportunity to respond, orally or in writing, to the invocation of such sanctions and to justify

[his or her] actions.’” Id. (quoting Mroz, 65 F.3d at 1575-76).

       Before the Court may use its inherent power, it must find that an attorney has engaged in

“subjective bad faith.” Purchasing Power, LLC v. Bluestem Brands, Inc., 851 F.3d 1218, 1223

(11th Cir. 2017) (“[T[he inherent-powers standard is a subjective bad-faith standard.”). Without

“direct evidence of subjective bad faith,” this standard is met “if an attorney’s conduct is so

egregious that it could only be committed in bad faith.” Id. at 1224-25 (citing Roadway Exp., Inc.

v. Piper, 447 U.S. 752, 767 (1980)). The power to impose sanctions “must be exercised with

restraint and discretion.” Roadway Exp., Inc., 447 U.S. at 764.




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         To that end, “[c]ourts considering whether to impose sanctions . . . should look for

disobedience . . . .” Purchasing Power, LLC, 851 F.3d at 1225; see also id. (inherent power is “for

rectifying disobedience”). Courts have found “bad faith” in only a narrow class of cases. See,

e.g., Agudelo v. Padron, No. 18-22612, 2019 WL 4694145, at *2 (S.D. Fla. July 8, 2019) (noting

that there could be bad faith when “an attorney knowingly or recklessly raises a frivolous

argument,” “raises a meritorious claim to harass the opposing party,” “delay[s] or disrupt[s] the

litigation,” or “hamper[s] the enforcement of a court order”) (citing Chambers, 501 U.S. at 45-46;

Thomas v. Tenneco Packaging Co., 293 F.3d 1306, 1320 (11th Cir. 2002); Barnes, 158 F.3d at

1214).

         If the Court were to find subjective bad faith, it is required to give an attorney advance

notice of the reasons why his or her conduct may be sanctionable. Mroz, 65 F.3d at 1575 (“Due

process requires that the attorney (or party) be given fair notice that his conduct may warrant

sanctions and the reasons why.”). “The charge must be known before the proceedings commence.”

United States v. Shaygan, 652 F.3d 1297, 1318 (11th Cir. 2011) (quoting In re Ruffalo, 390 U.S.

544, 550 (1968)). “An attorney charged with misconduct is entitled . . . to know the precise rule,

standard, or law that he or she is alleged to have violated and how he or she allegedly violated it.”

Id. at 1319. Providing that notice complies with fundamental fairness. See, e.g., Baker v. 3M Co.,

No. 21-12393, 2023 WL 3734013, at *3 (11th Cir. May 31, 2023) (“An elementary and

fundamental requirement of due process in any proceeding which is to be accorded finality is

notice reasonably calculated, under all the circumstances, to apprise interested parties of the

pendency of the action and afford them an opportunity to present their objections.”).

         Closely related, in explaining why the conduct is sanctionable, the Court must ensure that

the attorney was on notice, before the act was committed, that the conduct is prohibited. For




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example, in In re Finkelstein, 901 F.2d 1560 (11th Cir. 1990), the district court disciplined an

attorney for sending a letter that was “threatening and disruptive to the judicial process.” The

district court rooted its sanction in its inherent authority. 901 F.2d at 1564. According to the

district court, the attorney’s conduct did not violate a “written canon of ethics, a code provision,

or a case which proscribed the conduct,” id. at 1565, but it found that the attorney’s conduct was

contrary to a “code by which an attorney practices which transcends any written code of

professional conduct.” Id.

       The Eleventh Circuit explained, however, that “[i]n order to satisfy traditional notions of

due process, the conduct prohibited must be ascertainable.” Id. (citing NAACP v. Button, 371 U.S.

415, 432-33 (1963)). “Specific guidance is provided by case law, applicable court rules, and the

‘lore of the profession’ as embodied in the codes of professional conduct.” Id. at 1564-65. “The

fatal flaw with this transcendental code of conduct is that it existed only in the subjective opinion

of the court, of which [the attorney] had no notice, and was the sole basis of the sanction

administered after the conduct had occurred.” Id. at 1565. Accordingly, the Eleventh Circuit will

not “deprive an attorney of the opportunity to practice his profession on the basis of a determination

after the fact that conduct is unethical if responsible attorneys would differ in appraising the

propriety of that conduct.” Id. (quoting Ruffalo, 390 U.S. at 556 (White, J., concurring)).

       Other courts have reached similar conclusions. As the First Circuit observed, it is “unfair

for the court to use the case [in which the sanction is imposed] as the first step in adopting a new

rule.” United States v. 789 Cases of Latex Surgeon Gloves, 13 F.3d 12, 15 (1st Cir. 1993). To

comply with due process, “[t]he law forbids the imposition of a new rule without prior notice.” Id.

(quoting Boettcher v. Hartford Ins. Group, 927 F.2d 23, 26 (1st Cir. 1991)); see also In re

Richardson, 793 F.2d 37, 41 (1st Cir. 1986) (reversing sanction premised on violation of an




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“unwritten rule”); Eash v. Riggins Trucking Inc., 757 F.2d 557, 571 (3d Cir. 1985) (“[F]undamental

fairness may require some measure of prior notice to an attorney that the conduct that he or she

contemplates undertaking is subject to discipline or sanction by a court.”).

       The Federal Rules of Civil Procedure endorse this framework.               Where there is no

controlling law, the District Court may impose additional obligations on litigants and attorneys

through local rules and standing orders. Fed. R. Civ. P. 83(b). But Rule 83(d) limits any sanction

for noncompliance: “No sanction . . . may be imposed for noncompliance with any requirement

not in federal law, federal rules, or the local rules unless the alleged violator has been furnished in

the particular case with actual notice of the requirement.” Id.; see also Fed. R. Civ. P. 83 advisory

committee note (1995) (“[T]his rule disapproves imposing any sanction or other disadvantage on

a person for noncompliance with . . . an internal directive, unless the alleged violator has been

furnished actual notice of the requirement in a particular case.”).

       Accordingly, unless the conduct violates an ascertainable standard imposed on attorneys

before the conduct occurred, the conduct is not sanctionable.           Before an attorney may be

sanctioned, the Court must (i) articulate which rule the attorney has violated and (ii) identify how

the attorney has violated the rule. See, e.g., Shaygan, 652 F.3d at 1319 (“We do not mean to suggest

or even hint that the district court should consider sanctions against either [attorney]. It is not

apparent to us that either attorney necessarily violated any ethical rule or any constitutional or

statutory standard.”).

       If a court chooses to conduct a sanctions proceeding, then the attorneys must be afforded

an opportunity to be heard. Shaygan, 652 F.3d at 1318. In Shaygan, the Eleventh Circuit found

that the district court, in conducting a sanctions proceeding, “violated the civil rights of” two

prosecutors. Id. In particular, the attorneys (1) were sequestered, which precluded them from




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“know[ing] about the testimony of the other witnesses at the proceeding,” (2) “had no opportunity

to cross-examine any witnesses,” and (3) “did not know that the district court might rely on [their]

testimony to impose an individual sanction.” Id. Nor did the district court announce, before the

proceeding began, what potential sanctions were being considered. Id. The proceeding “did not

constitute an opportunity to be heard in the Anglo-American tradition.” Id. Accordingly, while

the Court has some flexibility in how it may conduct a sanctions proceeding, at a constitutional

minimum, the Court must give the attorneys an opportunity to defend themselves and to be heard,

and the Respondents are confident that Your Honor will do so if a disciplinary inquiry is initiated.

 Date: November 10, 2023                           Respectfully Submitted,

                                                   /s/ M. Christian King
                                                   One of the Attorneys for
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                                 CERTIFICATE OF SERVICE

        I certify that, on November 10, 2023, I electronically filed a copy of the foregoing with the
Clerk of Court through the CM/ECF system, which will provide notice of the filing to all counsel
of record.

                                              /s/ M. Christian King
                                              OF COUNSEL




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